                                                                                                                            Rev. 12/01/18
                                            LOCAL BANKRUPTCY FORM 3015-1

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                             WILKES-BARRE DIVISION

IN RE:                                                                    CHAPTER 13
James Michael Neil Chance
                                                                          CASE NO. 1:22-bk-01893

                                                                              X     ORIGINAL PLAN
                                                                                    AMENDED PLAN (Indicate 1st, 2nd, 3rd, etc.)

                                                                              0     Number of Motions to Avoid Liens
                                                                              0     Number of Motions to Value Collateral



                                                        CHAPTER 13 PLAN

                                                               NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as "Not Included" or if both boxes are checked or if neither box is checked, the provision will be ineffective if set out later
in the plan.

 1    The plan contains nonstandard provisions, set out in § 9, which are not included in                 Included          Not Included
      the standard plan as approved by the U.S. Bankruptcy Court for the Middle District of
      Pennsylvania.

 2    The plan contains a limit on the amount of a secured claim, set out in § 2.E, which                 Included          Not Included
      may result in a partial payment or no payment at all to the secured creditor.

 3    The plan avoids a judicial lien or nonpossessory, nonpurchase-money security                        Included          Not Included
      interest, set out in § 2.G.


                                             YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely written objection. This plan may
be confirmed and become binding on you without further notice or hearing unless a written objection is filed before the deadline
stated on the Notice issued in connection with the filing of the plan.

1.    PLAN FUNDING AND LENGTH OF PLAN.

      A.    Plan Payments From Future Income

            1.     To date, the Debtor paid         $0.00        (enter $0 if no payments have been made to the Trustee to date).
                   Debtor shall pay to the Trustee for the remaining term of the plan the following payments. If applicable, in
                   addition to monthly plan payments, Debtor shall make conduit payments through the Trustee as set forth
                   below. The total base plan is      $31,500.00    , plus other payments and property stated in § 1B below:

        Start                   End                  Plan           Estimated            Total Monthly               Total Payment
       mm/yyyy                 mm/yyyy              Payment          Conduit               Payment                   Over Plan Tier
                                                                     Payment

        Month 1                Month 60                 $525.00             $0.00                   $525.00                  $31,500.00
                                                                                             Total Payments:                 $31,500.00
            2.     If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee that a different
                   payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in writing, to adjust the
                   conduit payments and the plan funding. Debtor must pay all post-petition mortgage payments that come due
                   before the initiation of conduit mortgage payments.




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           3.    Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the terms of the
                 plan.

           4.    CHECK ONE:               Debtor is at or under median income. If this line is checked, the rest of § 1.A.4 need
                                          not be completed or reproduced.
     B.    Additional Plan Funding From Liquidation of Assets/Other

           1.    The Debtor estimates that the liquidation value of this estate is      $0.00         . (Liquidation value is
                 calculated as the value of all non-exempt assets after the deduction of valid liens and encumbrances and before
                 the deduction of Trustee fees and priority claims.)

           Check one of the following two lines.

                No assets will be liquidated. If this line is checked, the rest of § 1.B need not be completed or reproduced.

2.   SECURED CLAIMS.

     A.    Pre-Confirmation Distributions. Check one.

          None. If "None" is checked, the rest of § 2.A need not be completed or reproduced.

     B.    Mortgages (Including Claims Secured by Debtor's Principal Residence) and Other Direct Payments by Debtor.
           Check one.

           None. If "None" is checked, the rest of § 2.B need not be completed or reproduced.

          Payments will be made by the Debtor directly to the creditor according to the original contract terms, and without
           modification of those terms unless otherwise agreed to by the contracting parties. All liens survive the plan if not
           avoided or paid in full under the plan.

                    Name of Creditor                                     Description of Collateral                   Last Four Digits
                                                                                                                       of Account
                                                                                                                        Number


 Credit Acceptance                              2009 Chevrolet Traverse                                                    7281
 M & T Bank                                     905 Sherwood Street, Hanover, PA                                           2090
     C.    Arrears (Including, but not limited to, claims secured by Debtor's principal residence). Check one.

           None. If "None" is checked, the rest of § 2.C need not be completed or reproduced.

          The Trustee shall distribute to each creditor set forth below the amount of arrearages in the allowed claim. If post-
          petition arrears are not itemized in an allowed claim, they shall be paid in the amount stated below. Unless
          otherwise ordered, if relief from the automatic stay is granted as to any collateral listed in this section, all payments
          to the creditor as to that collateral shall cease, and the claim will no longer be provided for under § 1322(b)(5) of the
          Bankruptcy Code:


                          Name of Creditor /                                    Estimated         Estimated Post-        Estimated
                        Description of Collateral                              Pre-petition       petition Arrears      Total to be
                                                                               Arrears to be        to be Cured            paid
                                                                                  Cured                                   in plan


M & T Bank                                                                               $0.00                                     $0.00
905 Sherwood Street, Hanover, PA

     D.    Other secured claims (conduit payments and claims for which a § 506 valuation is not applicable, etc.)

           None. If "None" is checked, the rest of § 2.D need not be completed or reproduced.

          The claims below are secured claims for which a § 506 valuation is not applicable, and can include: (1) claims that
          were either (a) incurred within 910 days of the petition date and secured by a purchase money security interest in a
          motor vehicle acquired for the personal use of the Debtor, or (b) incurred within 1 year of the petition date and
          secured by a purchase money security interest in any other thing of value; (2) conduit payments; or (3) secured
          claims not provided for elsewhere.



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          1.   The allowed secured claims listed below shall be paid in full and their liens retained until the earlier of the
               payment of the underlying debt determined under nonbankruptcy law or discharge under § 1328 of the Code.

          2.   In addition to payment of the allowed secured claim, present value interest pursuant to 11 U.S.C. § 1325(a)(5)
               (B)(ii) will be paid at the rate and in the amount listed below, unless an objection is raised. If an objection is
               raised, then the court will determine the present value interest rate and amount at the confirmation hearing.

          3.   Unless otherwise ordered, if the claimant notifies the Trustee that the claim was paid, payments on the claim
               shall cease.

                            Name of Creditor /                                         Principal        Interest    Total to be Paid
                          Description of Collateral                                   Balance of          Rate          in Plan
                                                                                        Claim


Commonwealth of PA                                                                        $1,836.76        0.00%            $1,836.76
905 Sherwood Street, Hanover, PA

Wells Fargo Mortgage                                                                     $23,144.00        0.00%           $23,144.00
905 Sherwood Street, Hanover, PA

     E.   Secured claims for which a § 506 valuation is applicable. Check one.

          None. If "None" is checked, the rest of § 2.E need not be completed or reproduced.

     F.   Surrender of Collateral. Check one.

          None. If "None" is checked, the rest of § 2.F need not be completed or reproduced.

     G.   Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check one.

          None. If "None" is checked, the rest of § 2.G need not be completed or reproduced.

3.   PRIORITY CLAIMS.

     A.   Administrative Claims

          1.    Trustee fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United States Trustee.

          2.    Attorney fees. Complete only one of the following options:

                a.    In addition to the retainer of   $1,500.00     already paid by the Debtor, the amount of       $3,000.00
                      in the plan. This represents the unpaid balance of the presumptively reasonable fee specified in
                      L.B.R. 2016-2(c); or

                b.                      per hour, with the hourly rate to be adjusted in accordance with the terms of the written
                      fee agreement between the Debtor and the attorney. Payment of such lodestar compensation shall
                      require a separate fee application with the compensation approved by the Court pursuant to
                      L.B.R. 2016-2(b).

          3.    Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                       Check one of the following two lines.

                       None. If "None" is checked, the rest of § 3.A.3 need not be completed or reproduced.

     B.   Priority Claims (including certain Domestic Support Obligations).

          Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full unless modified under § 9.


                      Name of Creditor                                                Estimated Total Payment

     C.   Domestic Support Obligations assigned to or owed to a governmental unit under 11 U.S.C. § 507(a)(1)(B).
          Check one of the following two lines.

                None. If "None" is checked, the rest of § 3.C need not be completed or reproduced.




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4.      UNSECURED CLAIMS

        A.    Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the following two lines.

                    None. If "None" is checked, the rest of § 4.A need not be completed or reproduced.

        B.    Remaining allowed unsecured claims will receive a pro-rata distribution of funds remaining after payment of
              other classes.

5.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following two lines.

              None. If "None" is checked, the rest of § 5 need not be completed or reproduced.

6.      VESTING OF PROPERTY OF THE ESTATE.

        Property of the estate will vest in the Debtor upon

        Check the applicable line:

             plan confirmation.
             entry of discharge.
             closing of case.

7.      DISCHARGE: (Check one)

             The debtor will seek a discharge pursuant to § 1328(a).
             The debtor is not eligible for a discharge because the debtor has previously received a discharge described in
             § 1328(f).

8.      ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the Trustee will treat the claim as
allowed, subject to objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:
Level 1:
Level 2:
Level 3:
Level 4:
Level 5:
Level 6:
Level 7:
Level 8:

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above Levels are not filled-in, then the
order of distribution of plan payments will be determined by the Trustee using the following as a guide:

Level   1:   Adequate protection payments.
Level   2:   Debtor's attorney's fees.
Level   3:   Domestic Support Obligations.
Level   4:   Priority claims, pro rata.
Level   5:   Secured claims, pro rata.
Level   6:   Specially classified unsecured claims.
Level   7:   Timely filed general unsecured claims.
Level   8:   Untimely filed general unsecured claims to which the Debtor has not objected.




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9.    NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision placed elsewhere in the plan is
void. (NOTE: The plan and any attachment must be filed as one document, not as a plan and exhibit.)

      A.     Sale of Real Property

             1.    Closing for the sale of 905 Sherwood Street, Hanover, PA (the "Real Property") shall be completed within 12
                   months of the commencement of this bankruptcy case (the "Sale Deadline"). Unless otherwise agreed by the
                   parties or provided by the Court, each allowed claim secured by the Real Property will be paid in full under § 2(B)
                   of the Plan at the closing ("Closing Date").

             2.    The Real Property will be marketed for sale by a licensed real estate agent according to industry-standard terms.

             3.    At the Closing, it is estimated that the amount of no less than $1.00 shall be made payable to the Trustee.

             4.    Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all customary closing
                   expenses and all liens and encumbrances, including all § 2(B) claims, as may be necessary to convey good and
                   marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from seeking court
                   approval of the sale pursuant to 11 U.S.C. § 363, either prior to or after confirmation of the Plan, if, in the Debtor's
                   judgment, such approval is necessary or in order to convey insurable title or is otherwise reasonably necessary
                   under the circumstances to implement this Plan.

             5.    Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours after the Closing Date.

             6.    In the event that a sale of the Real Property has not been consummated by the expiration of the Sale Deadline
                   The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the Real Property shall be deemed
                   terminated and the Trustee shall make no payments to the allowed claims secured by the Real Property under §
                   2(B).


Dated:     9/30/2022                                                 /s/ Michael A. Cibik, Esquire
                                                                     Michael A. Cibik, Esquire, Attorney for Debtor



                                                                     /s/ James Michael Neil Chance
                                                                     James Michael Neil Chance, Debtor




By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also certifies that this plan
contains no nonstandard provisions other than those set out in § 9.




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                                                                                    CHAPTER        13

                                                    Certificate of Service


I hereby certify that on this date this chapter 13 plan was served on the parties listed below by first class mail or through the
CM/ECF system.


Date:      9/30/2022                                               /s/ Michael A. Cibik, Esquire
                                                                   Michael A. Cibik, Esquire
                                                                   Attorney for the Debtor(s)


Borough of Hanover                             Holly K. Liska                                  M & T Bank
44 Frederick St                                Hanover Borough Tax Collector                   Attn: Bankruptcy
Hanover, PA 17331                              279 Frederick St.                               PO Box 844
                                               Hanover, PA 17331-2326                          Buffalo, NY 14240



Citibank/Sears                                 I.R.S.                                          Pennsylvania Department of Revenue
Attn: Bnakruptcy                               P.O. Box 7346                                   Bankruptcy Division
PO Box 790034                                  Philadelphia, PA 19101-7346                     PO Box 280946
St Louis, MO 63179                                                                             Harrisburg, PA 17128-0946



Commonwealth of PA                             Internal Revenue Service                        Synchrony Bank/ Old Navy
Dept. of Revenue                               Centralized Insolvency Operation                Attn: Bankruptcy
Bureau of Compliance                           P.O. Box 7346                                   PO Box 965060
P.O. Box 280946                                Philadelphia, PA 19101-7346                     Orlando, FL 32896
Harrisburg, PA 17128-0946


Credit Acceptance                              KML Law Group P.C.                              Synchrony Bank/Gap
Attn: Bankruptcy                               701 Market Street, Suite 5000                   Attn: Bankruptcy
25505 West 12 Mile Road Ste 3000               Philadelphia, PA 19106                          PO Box 965060
Southfield, MI 48034                                                                           Orlando, FL 32896



Hanover Public School District                 Kohls/Capital One                               Synchrony Bank/Lowes
403 Moul Ave                                   Attn: Credit Administrator                      Attn: Bankruptcy
Hanover, PA 17331                              PO Box 3043                                     PO Box 965060
                                               Milwaukee, WI 53201                             Orlando, FL 32896




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                                              Certificate of Service
                                              (Continuation Sheet #1)

Wells Fargo Mortgage
Att: Written Correspondance Dept
PO Box 10335
Des Moines, IA 50306


York County Assessment & Tax Claim
Offic
28 E Market St Ste 105
York, PA 17401




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